

ORDER

PER CURIAM:
AND NOW, this 29th day of September, 1994, on certification by the Disciplinary Board that the respondent, ERIK F. LAWSON, JR., a/k/a ERIC F. LAWSON, JR. who was suspended by Order of this Court dated August 25, 1994, 647 A.2d 503, for a period of one (1) year, retroactive to March 17, 1993, has filed a verified statement showing compliance with all the terms and conditions of the Order of suspension and Rule 217, Pa.R.D.E., and there being no other outstanding order of suspension or disbarment, ERIK F. LAWSON, JR., a/k/a ERIC F. LAWSON, JR. is hereby reinstated to active status, effective immediately.
MONTEMURO, J., is sitting by designation as Senior Justice pursuant to Judicial Assignment Docket No. 94 R1801, due to the unavailability of LARSEN, J., see No. 127 Judicial Administration Docket No. 1, filed October 28, 1993.
